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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1790V
                                      (not to be published)

    ************************* *
                                       *
    MICHAEL RILEY and JOCELYN V.       *
                                       *
    RILEY, parents of A.C.R., a minor, *                   Filed: December 17, 2020
                                       *
                        Petitioners,   *
                                       *
                                       *                   Decision by Stipulation; Damages;
    v.                                 *                   Influenza (“Flu”) Vaccine; Guillain-Barré
                                       *                   syndrome (“GBS”)
    SECRETARY OF HEALTH AND            *
    HUMAN SERVICES,                    *
                                       *
                                       *
                        Respondent.    *
                                       *
    ************************* *

Robert J. Krakow, Law Office of Robert J. Krakow, P.C., for Petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION1

        On November 14, 2017, Michael and Jocelyn Riley (“Petitioners”) filed a petition on behalf
of their minor daughter, A.C.R., seeking compensation under the National Vaccine Injury
Compensation Program (“the Vaccine Program”).2 Pet., ECF No. 1. Petitioners allege their
daughter suffered from Guillain-Barré syndrome (GBS) as a result of the influenza (“flu”) vaccine
she received on April 29, 2016. See Stipulation ¶ 2, 4, dated December 17, 2020 (ECF No. 56);
see also Petition.

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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        Respondent denies “that ACR sustained a Table injury for GBS after the April 29, 2016
flu vaccine or any other vaccine; denies that the flu vaccine or any other vaccine caused or
significantly aggravated ACR’s alleged injury or any other injury; and, denies that ACR’s current
disabilities are the result of a vaccine-related injury”. See Stipulation ¶ 6. Nonetheless, both
parties, while maintaining their above-stated positions, agreed in a stipulation filed on December
17, 2020 that the issues before them can be settled and that a decision should be entered awarding
Petitioner compensation. ECF No. 54

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       a. A lump sum of $75,000.00 in the form of a check payable to [P]etitioners, as the
          guardians/conservators of the estate of ACR; and

       b. A lump sum of $848.97, in the form of a check payable to [P]etitioners, for past
          unreimbursed expenses paid on behalf of ACR.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioners. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
Clerk of the Court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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